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                                                               Oct 30 2019
 1   Mark Pollard, (pro per)
 2
     15055 Kensal Court                                          s/ anthonyh

     Valley Center, CA 92082
 3   (760) 877-1277
 4
     (Defendant)

 5

 6

 7

 8                      THE UNITED STATES FEDERAL DISTRICT COURT
 9
                               SOUTHERN DISTRICT OF CALIFORNIA
10
           Anton Ewing, JD                     Civil Action No. 19cv0855-CAB-BGS
11
                                               rThe Honorable Judge Cathy A.
12                Plaintiff,                   Bencivenga]
13
           vs.                                 MEMORANDUM OF POINTS AND
14                                             AUTHORITIES BY MARK
15         Mark Pollard, an individual         POLLARD IN SUPPORT OF
                                               MOTION TO DISMISS FIRST
16
                  Defendant.                   AMENDED COMPLAINT
17
                                               [PER CHAMBERS, NO ORAL
18
                                               ARGUMENT UNLESS ORDERED
19                                             BY THE COURT]
20
                                               DATE:       December 3, 2019
21                                             TIME:
22
                                               DEPT:       Courtroom 4C

23
                   MEMORANDUM OF POINTS AND AUTHORITIES
24
     I.    INTRODUCTION
25
           Defendant Mark Pollard moves this Court for an Order dismissing Plaintiff
26

27
     Anton Ewing's First Amended Complaint because this is his second attempt to assert a

28
     valid Telephone Consumer Protection Act claim against Defendant and he did not.

                                             - 1 -
                       MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
                     IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 1         In his new First Amended Complaint Ewing states, "To be clear, Plaintiff is
 2   suing Pollard for the directly dialed calls. There were other calls through lead
 3   generators but this lawsuit is for the direct autodialed calls." (F AC at para. 11)
 4   Thereafter, Mr. Ewing's First Amended Complaint almost exclusively discusses
 5   actions by "Grace" with "Virtual Staffing Outsource" (VSO) from the Philippines.
 6
     (FAC at para. 5, 6, 7, 11, 15, 16, 34, 41) That is the problem with the First Amended
 7
     Complaint because it is so vague and contradictory that Mr. Ewing portrays he was
 8
     called by Mark Pollard on six or more occasions. But, Mr. Ewing knows that is not
 9
     true which is why he initially states in the First Amended Complaint that Grace
10
     contacted him from VSO.
11
           Mr. Ewing then makes a variety of false claims that I had some type of
12
     employment relationship with the VSO in the Philippines, at one point actually
13
     asserting that I issued a W-2 to a VSO employee, Grace. (FAC at para. 11) I am not
14
     sure why Mr. Ewing would make claims that he knows are completely false and not
15
     even possible since I reside in Valley Center and have nothing to do with the
16
     ownership, operation, or any other capacity of the Philippines company VSO.
17
           The truth is that I called Mr. Ewing one time (and one time only) because Mr.
18

19
     Ewing stated to VSO that he wanted to be contacted by me because he was interested

20
     in my insurance products. At that time, Mr. Ewing said his name was Tony Stare at

21   the beginning of the call and then proceeded to engage me in a 15 minute conversation
22   over the insurance products that I offered. Then, suddenly toward the end of that one
23   and only phone call, Mr. Ewing stated he was not Tony Stare, but instead Anton Ewing
24   and then began to threaten me in numerous ways some of which this Court has been
25   informed of in prior documents.
26         In any case, if we take Mr. Ewing at his word in his First Amended Complaint
27   that he is only suing me for my one direct phone call, then he can never assert a valid
28   claim under the Telephone Consumer Protection Act ever against me. That is because
                                                - 2 -
                        MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1   Mr. Ewing asked me to call him, which I did one time on my regular phone. 1 In other
 2   words, Mr. Ewing knows there was no autodialing involved between him and I.
 3            Since Mr. Ewing has now limited this FAC to the one call that did occur
 4   between him and I, there appears to be no basis for Mr. Ewing to have standing to
 5
     maintain any claim against me in this case. Furthermore, can never state a valid claim
 6
     for any action I did under the Telephone Consumer Protection Act.
 7
             Mr. Ewing cites to Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037
 8     th
     (9 Cir. 2017) claiming that the case provides him with standing in any Telephone
 9
     Consumer Protection Act case. But, that is not what Van Patten holds. In fact, Van
10
     Patten supports my position because the case discusses the fact that the defendant there
11
     admitted to robotexting and also discussed consent. In my case, I did not robocall
12
     Tony Stare/Anton Ewing and the only reason I did contact him on one occasion was
13
     because he said he wanted me to contact him because he was interested in my
14
     insurance products. And, for 15 minutes on the phone call with Tony Stare/Anton
15
     Ewing, I believed he was interested in my insurance products because he was engaging
16
     and asking questions about the insurance.
17

18
     II.     BACKGROUND
19
             Ewing has become notorious in the TCP A world as a serial litigant who has file

20
     dozens upon dozens of TCP A cases in the past few years. Mark Pollard is an

21   individual who until June 1, 2018 had run his own General Contracting business for

22   over 23 years. Due to complications stemming from heart failure ( cardiomyopathy),
23   Pollard shut down his business in June of 2018. In an effort to provide for his family
24   Pollard turned to a less stressful career in life insurance, and obtained his license in
25   November of 2018. On or about January 28, 2019 Pollard built a website
26   (elevationinsurancegroup.com). On or about February 2, 2019 before Pollard could
27

28          Mr. Ewing made other false claims that I own some kind of autodialing equipment which is again just plain false
     and made up out of thin air. I do not know how someone can just state false assertions like this and get away with it in a
                                                      - 3 -
                              MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1   make any sales, he was diagnosed with thyroid cancer. During the initial surgery for
 2   thyroidectomy Pollard's laryngeal nerve was severed causing Pollard to lose his voice.
 3   On or about April 24, 2019 Pollard was approached by an outsourcing company
 4   Virtual Staffing Outsourcing (VSO) based in the Philippines in an effort to provide
 5   their sourcing services. VSO was responsible for their sourcing, vetting, and
 6
     adherence of all applicable U.S. Laws in conducting their business and hiring their
 7
     employees.
 8
             A. History of Call Between Ewing and Defendant
 9
              On or about May 7, 2019 VSO's employee Grace, emailed Pollard a scheduled
10
     appointment with Tony Stare contact number 619-719-9640 and email address
11
     seoresearchdata@gmail.com. VSO had conducted their screening with Tony Stare for
12
     interest. Stare was receptive and engaging and gave Grace consent for Pollard to
13
     contact him either on his cell phone 619-719-9640 or via his email
14
     seoresearchdata@gmail.com. On or about May 7, 2019 at 10:31AM Pollard, through
15
     the use of his personal cell phone, manually placed one phone call to Tony Stare to
16
     confirm the appointment. (Exhibit A) Pollard did this by dialing his personal cell
17
     phone one time to 619-719-9640 (Exhibit A). The person answering the call identified
18

19
     himself as Tony Stare. The call duration was 18 minutes. At all times during the first

20
     15 minutes of conversation Pollard was under the belief that he was speaking with

21   Tony Stare. Stare was engaging and inquisitive about Pollard's business and not once

22   did he state that his number was on the Do Not Call Registry (DNC). After Stare
23   obtained Pollard's business information and 15 minutes into the call, Stare revealed to
24   Pollard that indeed his name was "Anton", now known as Anton Ewing. Ewing
25   became aggressive and hostile and vociferously stated "I am going to shut your
26   company down." He proceeded to quote legalese codes and stated "I am going to sue
27   you, I'm gonna shut you down." Pollard apologized for the phone call but Ewing
28
     court of law.
                                               - 4 -
                         MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1   continued to berate him. Pollard advised Ewing that he was going to hang up and not
 2   continue this conversation. Ewing continued to rebuke Pollard. Pollard hung up the
 3   telephone. That same morning, May 7, 2019 at 10:56AM Ewing called Pollard.
 4   Pollard then stated "I am trying to support my family and if my apology is not
 5
     sufficient then there is nothing else to say" and ended the call.
 6
     Again on May 7, 2019 at 12:45PM Ewing emailed Pollard an unfiled alleged
 7
     complaint stating "You have been sued ... "
 8
            The single call at issue was placed to Tony Stare, now known as Anton Ewing,
 9
     cell phone with a Pollard's personal cell phone. No ATDS equipment was ever used.
10
     Pollard does not own, has no knowledge of, or ever owned or used A TDS equipment.
11
            B.    Ewing's Alleged Harm
12
            Ewing now comes before this Court and alleges that Defendant's single call on
13
     May 7, 2019, violates the TCPA and is grounds for an injunction and damages
14
     because:
15
            1.    Allegedly Defendant called Ewing's cellular telephone using an ATDS
16
                  (FAC, if 16);
17
            2.    Ewing alleges he received "multiple calls" on or about May 7, 2019 from
18

19
     Pollard (FAC, ifl6);

20
            3.    Ewing states the calls were harassing and annoying to him (FAC.     ,r 30)
21   These are the only allegations of harm in the First Amended Complaint. Further, there

22   are no other allegations of any concrete harm regarding the single call Plaintiff
23   received - nor could there be.
24   III.   DISCUSSION
25          A.    Standard of Review
26          Federal courts are courts of limited jurisdiction, and as such have an obligation
27   to dismiss claims for which they lack subject-matter jurisdiction. Demarest v. United
28   States, 718F.2d 964,965 (9th Cir. 1983). Because the issue of standing pertains to the
                                                - 5 -
                        MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1   subject-matter jurisdiction of a federal court, motions raising lack of standing are
 2   properly brought under Federal Rule of Civil Procedure 12(b)(l). White v. Lee, 227
 3   F.3d 1214, 1242 (9th Cir. 2000). The Plaintiff bears the burden of establishing he has
 4   standing to bring the claims asserted. Takhar v. Kessler, 76 F.3d 995, 1000 (9th Cir.
 5
     1996); see also In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 546
 6
     F .3d 981, 984 (9th Cir. 2008) ("The party asserting jurisdiction bears the burden of
 7
     establishing subject matter jurisdiction on a motion to dismiss for lack of subject
 8
     matter jurisdiction.")
 9
           Rule 12(b)(1) motions may challenge jurisdiction facially or factually. Safe
10
     Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). "In a facial attack,
11
     the challenger asserts that the allegations contained in a complaint are insufficient
12
     on their face to invoke federal jurisdiction. By contrast, in a factual attack, the
13
     challenger disputes the truth of the allegations that, by themselves, would otherwise
14
     invoke federal jurisdiction." Id. Here, Pollard's challenge is facial because it
15
     disputes whether Plaintiff has alleged harm sufficiently particularized to confer
16
     Article III standing. To adjudicate a facial challenge, the Court assumes the truth of
17

18
     Plaintiffs factual allegations, and draws all reasonable inferences in favor of

19
     Plaintiff. Whisnant v. United States, 400 F.3d 1177, 1179 (9th Cir. 2005); Safe Air

20
     for Everyone, 373 F.3d at 1039.

21         Moreover, standing must be considered before proceeding to the merits of a

22   case because it is a threshold, jurisdictional issue. Kerr-McGee Chemical Corp. v.
23   US. Dept. ofInterior, 709 F.2d 597, 600 (9th Cir. 1983); Los Angeles Bar Ass 'n v.
24   Eu, 979 F .2d 697, 700 (9th Cir. 1992). Litigants seeking redress in a federal forum
25   must have the requisite standing that arises from an actual controversy and must be
26   "extant at all stages of review, not merely at the time the complaint is filed."
27   Arizonans for Official English v. Arizona, 520 U.S. 43, 67 (1997) (quoting Freiser
28   v. Newkirk, 422 U.S. 395 , 401 (1975)).
                                                 - 6 -
                         MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1         Essentially, courts must ensure that the parties before it have the requisite
 2   standing to pursue their claims, despite the current state of litigation, and even if the
 3   issue has not been previously raised. "Every federal ... court has a special
 4   obligation to satisfy itself not only of its own jurisdiction, but also that of the lower
 5   courts in a cause under review, even though the parties are prepared to concede it"
 6
     Arizonans for Official English, 520 U.S. at 73 (internal citations omitted). See also
 7
     Juidice v. Vail, 430 U.S. 327,331 (1977) ("Although raised by neither of the
 8
     parties, we are first obliged to examine the standing of appellees, as a matter of the
 9
     case-or-controversy requirement associated with Art. III, to seek injunctive relief in
10
     the District Court.").
11
           B. Ewing Cannot Satisfy Article III Standing.
12
           The standing to sue doctrine arises from the case or controversy principles
13
     developed from United States Supreme Court case law. The purpose behind the
14
     "standing to sue" doctrine is to "limit the category of litigants empowered to
15
     maintain a lawsuit in federal court to seek redress for a legal wrong." See Spokeo,
16
     136 S.Ct. at 154 7 (citing Raines v. Byrd, 521 U.S. 811, 818 (1997)). A plaintiff in
17
     federal court must prove he has Article III standing. Lewis v. Casey, 518 U.S. 343,
18

19
     357 (1996). "Article III, Section 2 of the United States Constitution restricts federal

20
     court jurisdiction to resolving cases and controversies. Standing to sue or defend is

21   an aspect of the case or controversy requirement." Arizonans for Official English,

22   520 U.S. at 64; U.S. CONST. art. III, § 2, cl. 1.
23          Under this principle, standing consists of three elements. A plaintiff must
24   have (1) suffered an injury in fact, (2) that is fairly traceable to the challenged
25   conduct of the defendant, and (3) that is likely to be redressed by a favorable
26   judicial decision." Arizonans for Official English, 520 U.S. at 64 (citing Lujan v.
27   Defenders of Wildlife, 504 U.S. 555, 560-61 (1992)). It is Ewing's burden to prove
28   he has satisfied Article III Standing. Lewis, 518 U.S. at 357.
                                                 -   7 -
                         MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1         Ewing has not and cannot meet this burden in light of Spokeo. Ewing under the
 2   alias "Tony Stare" requested that Pollard contact him to his cell phone 619-719-9640
 3   or by email to seoresearchdata@gmail.com to offer further information on products.
 4   After the one call concluded, Pollard never again contacted Plaintiff Ewing. In other
 5
     words, Ewing not only consented to my single phone call with him, he actually
 6
     requested that I call him to provide him with information on my insurance products.
 7
           Ewing now attempts to extrapolate that single, invited, call into a nationwide
 8
     TCP A lawsuit. Even a cursory reading of his First Amended Complaint, shows that
 9
     Ewing could not be harmed by my single phone call, that was not autodialed, and that
10
     he requested for me to call. Other than reciting often-used introductory language as to
11
     why Congress enacted the TCP A, and its background regarding pre-recorded
12
     telemarketing calls, the First Amended Complaint does nothing to show that Ewing
13
     was harmed by the single, invited, call he received from me on May 7, 2019.
14
           Nowhere in the factual background of the Complaint does Ewing articulate,
15
     state, infer, or complain of any actionable harm he suffered as a result of this call,
16
     absent the suggestion that he was annoyed by the call. Even assuming, arguendo,
17

18
     that Ewing could plead that he suffered the exact harm Congress sought to

19
     eliminate with the TCP A (e.g., unwanted calls to Ewing's cell phone and violation

20   of privacy), that allegation would only address the particular, not the concrete,

21   component of an injury in fact analysis. Spokeo 's holding is clear: a mere statutory
22   violation divorced from some concrete injury caused by that statutory violation is
23   not sufficient to confer Article III standing and injury in fact. 136 S.Ct. 1540
24   (2016).
25         Mr. Ewing cites to Van Patten v. Vertical Fitness Group, LLC, 847 F.3d 1037
26   (9th Cir. 2017) claiming that the case provides him with standing in any Telephone
27   Consumer Protection Act case. But, that is not what Van Patten holds. In fact, Van
28

                                                - 8 -
                        MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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 1   Patten supports my position because the case discusses the fact that the defendant ther
 2   admitted to robotexting and also discussed consent.
 3         This reasoning is in harmony with Spokeo and dovetails precisely to the
 4   concrete harm showing that must be made, and is why Ewing's First Amended
 5
     Complaint is fatally flawed. No amount of amendments can address the fundamental
 6
     problem with his claim. Ewing merely received one, invited, call-following up on
 7
     contact that Ewing himself /aka Tony Stare initiated. There is no allegation, nor could
 8
     there be, that the single follow-up call was an attempt to sell something, was
 9
     telemarketing, or was the result of a pattern of unwanted calls to Ewing by me.
10
           Even a charitable reading of Ewing's First Amended Complaint reveals that he
11
     was not harmed by the single call placed. Instead, the First Amended Complaint is a
12
     contrivance brought by a serial plaintiff seeking to enrich himself with statutory
13
     damages and class-wide claims where no showing of any concrete harm tied to
14
     Defendant's conduct has been made. This is precisely the issue that Spokeo addressed
15
     and that compels a dismissal of these claims.
16

17
           C.     Ewing's First Amended Complaint Is Intentionally Confusing,
                  Contradictory, And Does Not Assert A Plausible Claim With
18                Sufficient Actual Factual Allegations.
19
           To survive a Rule 12(b) motion to dismiss, the complaint must assert a plausible
20
     claim, and set forth sufficient factual allegations to support the claim. Ascroft v. Iqbal,
21
     556 U.S . 662, 129 S.Ct. 1937, 1949-1950, 173 L.Ed.2d 868 (2009)(citing Bell Atlantic
22
     Corp. v. Twombly, 550 U.S. 554, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007)). Pleadings
23
     are no longer satisfied by "an unadorned the-defendant-unlawfully-harmed me
24
     accusation." Iqbal, 129 S.Ct. at 1949 (citing Twombly, 550 U.S. at 555). Now, neither
25

26
     a "formulaic recitation of the elements of a cause of action" nor "naked assertions [of

27
     fact] devoid of further factual enhancement" is sufficient to withstand dismissal. Id.

28   To satisfy the standard under Twombly and Iqbal, "a complaint must contain sufficient

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 1   factual matter, accepted as true, to 'state a claim to relief that is plausible on its face."'
 2   Id. (citing Twombly, 550 U.S. at 570). A claim has facial plausibility when the
 3   plaintiff pleads enough factual content that allows the court to draw the reasonable
 4   inference that the defendant is liable under the alleged claim. Id. (citing Twombly, 550
 5
     U.S. at 556). "A court considering a motion to dismiss can choose to begin by
 6
     identifying pleadings that, because they are no more than conclusions, are not entitled
 7
     to the assumption of truth." Id. at 1950. Therefore, if allegations are merely
 8
     "conclusory," they are "not entitled to be assumed true." Id. Even if a court decides
 9
     that the factual allegations are entitled to an assumption of truth, however, the facts
10
     must also "plausibly suggest an entitlement to relief." Id. at 1951.
11
            Ewing's First Amended Complaint is intentionally misleading and
12
     contradictory. On the one hand, Mr. Ewing concedes in several places in the First
13
     Amended Complaint that it was Grace from VSO rather than me that was the person
14
     and entity that called him on numerous occasions. On the other hand, Ewing begins
15
     his First Amended Complaint by claiming that I had some type of ownership interest in
16
     VSO or even completely falsely states that I issued a W-2 to Grace. The First
17
     Amended Complaint is so confusing and contradictory that it is difficult to understand
18

19
     exactly what Mr. Ewing contends. However, what is known is that I placed one call,

20
     and one call only from my regular phone to Mr. Ewing after he requested that I call

21   him. Because of that fact, Mr. Ewing can never assert a valid claim against me for

22   violation of the Telephone Consumer Protection Act unless he is allowed by the Court
23   to outright lie.
24   IV.    CONCLUSION
25          I request that Mr. Ewing's First Amended Complaint against me be dismissed
26   because Mr. Ewing lacks standing to bring it and he can never assert a claim against
27   me for violation of the Telephone Consumer Protection Act.
28   Ill
                                                 - 10 -
                          MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
                        IN SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT
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 3
     Dated: October 30, 2019                      zr/AZ~
                                                 Mark Pollard, Defendant

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                      MEMORANDUM OF POINTS AND AUTHORITIES BY DEFENDANT
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                           Exhibit
               Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.266 Page 13 of 19
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 !                       05/07/2019                                                12:09 PM               INCOMING               •-3387          Peak            2
                    ----·~----·•·- ... •·· ----
     '.,...flje~9                                                                  10:56AM                                S19-71~-9640           Peak            2
            ----------- -----                         ·•·-   ..•---·-~··--·



                                                                                                        ~
     '-i    t ~ ~ t /eo1s                                                          10:31 AM                               619-710-9640           Peak            18
              __..__ _____ ·- . _, .... ..
                            ,




                         05/07/2019                                                10:24AM                INCOMING               -1014           Peak            2
            - ···------- ----                    -
                         05/07/2019                                                 9:59AM               WALNUTCRK               ·-1014          Peak             2


'i
                         05/07/2019                                                 9:58AM               MONTEBELLO              · -1181         Peak
,,_l                        -- - --- -·-··
                         05/07/2019                                                 9:54AM                  PHELAN               -4290           Peak
                    ,. ________    ..    ---·          . .


       n ttps://myvpostpay.verizonwlreless.com/myv/myusage/                                                                                                                  4/8
                          Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.268 Page 15 of 19
                                                                   -----.
 -- .--- --~                                                           - -Iimii-    ------
                                                                                   Destination o   Number1         ~Y.RU            Minuteso
           ------ ·-----· -                                                                                                                            . {;


                       05/07/2019                                       9:49AM     VMDEPOSIT           -5167          Peak             2
  (           --···-····- -
                       05/06/2019                                       3:14PM     TOLL-FREE           -3387          Peak



                       05/06/2019                                       2:48 PM    LSANDA02            -6391          Peak             2



                       05/06/2019                                        1:01 PM   SAN DIEGO           -5167          Peak             2
                    ---·--     ,,,._    -··- -··
                                                                                                                                                     . ft
                       05/06/2019                                       10:26AM      POWAY             -7771     M2M Calling Peak      2
         ~ -----·- ·-···-·· --- -·               ---
                       05/06/2019                                       10:25AM    VMDEPOSIT           ,••3338        Peak
         .... ---- -, ..--.~- ---                                                                                                                    v;;
                                                                                                                                                      ,, 4
                                                                                                                                                          '
                       05/06/2019                                       10:24AM    VMDEPOSIT            7157     M2M Calling Peak
         ,...I" _., ______ _ - - -· -     -



                        05/06/2019                                      10:20AM       POWAY            -2889          Peak



                        05/06/2019                                       8:12AM    VMDEPOSIT           ·5167          Peak             2
                                                                                                                                                ·o
                                                                                                                                               I~

                        05/04/2019                                       4:15 PM   VMDEPOSIT           -5167         Off Peak
                                                                                                                                               l"i
                                                                                                                                                u.

                    . i----- -·          .....

:~;..•                  05/04/2019                                      12:14PM     INCOMING           -3338         Off Peak



                        05/04/2019                                       9:48AM    VMDEPOSIT            -5167        Off Peak
           ,--------------- ------·                          ·•~·- -                                                                                  .'  ;

                        05/04/2019                                       9:24AM    VMDEPOSIT           -5167         Off Peak          2
          ..... .....-----. . - -· ,._.,         -·

                        05/04/2019                                       9:11 AM   VMDEPOSIT           -3338         Off Peak
           "'---       ·-·- ·- --
                        05/04/2019                                       9:02AM    VM DEPOSIT          i-3338        Off Peak          2
         _,__,      __ ---     ~   --


                        05/03/2019                                       8:58AM     INCOMING           ·2530           Peak            14



                        05/03/2019                                       8:51AM    RNCHOBRNDO           2475           Peak             5
            ...,.   ___,. ____ -
                        05/03/2019                                       8:46AM    VMDEPOSIT            2530           Peak


                        05/03/2019                                       6:24AM    CHULAVISTA          - 8163    M2M Calling Peak
          ------ ---- -- -- ·· -                               -
                        05/02/2019                                       2:29PM     INCOMING            -2250          Peak             3
  \_       ...---..•- ---       •·            -- --   -·-·

                        05/02/2019                                      10:32 AM       BEND             -1681          Peak             2



  _~                  ://myvpostpay.verizonwireless.com/myv/myusage/                                                                            5/8
Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.269 Page 16 of 19



 1   Mark Pollard, (pro per)
 2
     15055 Kensal Court
     Valley Center, CA 92082
 3   (760) 877-1277
 4
     (Defendant)

 5

 6

 7

 8                        THE UNITED STATES FEDERAL DISTRICT COURT
 9
                              SOUTHERN DISTRICT OF CALIFORNIA
10
           Anton Ewing, JD, an individual,      Civil Action No. 19cv0855-CAB-BGS
11
                                                rThe Honorable Judge Cathy A.
12               Plaintiff,                     Bencivenga]
13
           vs.                                  NOTICE OF MOTION AND
14                                              MOTION BY DEFENDANT MARK
15         Mark Pollard, an individual;         POLLARD TO ACCEPT SERVICE
                                                AND MOTION BY MARK
16
                 Defendant.                     POLLARD TO DISMISS
17                                              COMPLAINT
18
                                                [PER CHAMBERS, NO ORAL
19                                              ARGUMENT UNLESS ORDERED
                                                BY THE COURT]
20

21                                              DATE:        December 3, 2019
22
                                                TIME:
                                                DEPT:       Courtroom 4C
23

24         PLEASE TAKE NOTICE that I, Defendant Mark Pollard, hereby respectfully
25
     moves to dismiss Plaintiff, Anton Ewing's First Amended Complaint on the grounds
26
     listed below. The Motion is set for December 3, 2019 in Courtroom 4C of the above-
27

28   entitled Court.

                                              - 1 -
              DEFENANT'S NOTICE OF MOTION & MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.270 Page 17 of 19



 1                                          MOTION:
 2
           Defendant Mark Pollard moves this Court for an order granting his Motion to
 3

 4
     Dismiss the First Amended Complaint of Anton Ewing pursuant to Federal Rule of

 5
     Civil Procedure § 12(b)( 1), on the grounds that Plaintiff lacks Article III standing, and
 6
     therefore, this Court lacks subject matter jurisdiction.
 7

 8         Defendant Mark Pollard further moves this Court for an order granting his
 9
     Motion to Dismiss the First Amended Complaint of Anton Ewing pursuant to Federal
10

11
     Rule of Civil Procedure §12(b)(6). Rule 12(b)(6) provides that a motion to dismiss a

12   complaint may be filed for "failure to state a claim upon which relief can be granted."
13
     Id. "The purpose of the rule is to allow the court to eliminate actions that are fatally
14

15   flawed in their legal premise and destined to fail, and thus spare the litigants the
16
     burdens of unnecessary pretrial and trial activity." Advanced Cardiovascular Sys., Inc.
17

18
     v. SciMed Life Sys., 988 F.2d 1157, 1160 (Fed. Cir. 1993), reh'g en ban denied. Since

19   Plaintiff cannot state a valid action for violation of the Telephone Consumer Protection
20
     Act this Court should dismiss Anton Ewing's First Amended Complaint.
21

22         This motion is based on this Notice of Motion, the Memorandum of Points and
23
     Authorities, the pleadings, papers, and other documents on file in this action, and such
24
     further evidence or argument as the Court may properly consider at or before the
25

26   hearing on this Motion.
27
     Ill
28


                                                -   2 -
              DEFENANT'S NOTICE OF MOTION & MOTION TO DISMISS FIRST AMENDED COMPLAINT
Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.271 Page 18 of 19



 1   Dated: October 30, 2019
 2

 3                                                Mark Pollard, Defendant
                                                  Pro per
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             DEFENANT'S NOTICE OF MOTION & MOTION TO DISMISS FIRST AMENDED COMPLAINT
        Case 3:19-cv-00855-CAB-BGS Document 24 Filed 10/30/19 PageID.272 Page 19 of 19
                                    \.   ;                                  l   1
                                                                                             COURT USE ONLY
UNITED STATES DISTRICT COURT,
SOUTHERN DISTRICT OF CALIFORNIA
TITLE OF CASE (ABBREVIATED)

Anton Ewing v. Mark Pollard



                                                                             CASE NUMBER:

                                                                             19cv0855-CAB-BGS

                                               PROOF OF SERVICE

At the time of service, I was over 18 years of age and not a party to this action. My home address is 15055
Kensal Court, Valley Center, CA 92082.

          On October 30, 2019, I personally mailed the following document(s):

     1) NOTICE OF MOTION AND MOTION BY DEFENDANT MARK POLLARD TO
        ACCEPT SERVICE AND MOTION BY MARK POLLARD TO DISMISS
        COMPLAINT

     2) MEMORANDUM OF POINTS AND AUTHORITIES BY MARK POLLARD IN
        SUPPORT OF MOTION TO DISMISS FIRST AMENDED COMPLAINT


          I served the document(s) on the person below, as follows:

          Anton Ewing
          3077 B Clairemont Drive #372
          San Diego, CA 9211 7



           By United States mail. I enclosed the above-referenced document(s) in a sealed envelope or package
           addressed to the persons at the address above and deposited the same with the United States Postal
           Service, in a sealed envelope with First Class postage fully paid.

           I declare under penalty of perjury under the laws of the State of California, that the above is true and
           correct. Executed on October 30, 2019, at Valley Center, California.




                                                                                    ollard




                                                PROOF OF SERVICE
